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                   IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

VEROBLUE FARMS USA, INC.,                  §
                                           §
             Plaintiff,                    §
                                           §
V.                                         §
                                           §
LESLIE A. WULF, et al.,                    §
                                           §
             Defendants,                   §          No. 3:19-cv-764-X
                                           §
V.                                         §
                                           §
EVA EBSTEIN, et al.,                       §
                                           §
             Third-Party Defendants.       §

     ORDER GRANTING IN PART AND DENYING IN PART PLAINTIFF’S
        MOTION TO COMPEL DISCOVERY FROM DEFENDANTS

       Plaintiff VeroBlue Farms USA, Inc. (“VBF”) filed a Motion to Compel Discovery,

see Dkt. No. 135 (the “MTC”), seeking an order compelling “Defendants Leslie A. Wulf,

Bruce A. Hall, James Rea, and John E. Rea, (the ‘Responding Founders’) (the

Responding Founders, together with Keith Driver, the ‘Founders’) to produce

documents responsive to Plaintiff’s First Request for Production of Documents [‘RFP’]

and to provide full responses to Plaintiff’s First Set of Interrogatories,” id. at 1. VBF

explains that, through these written discovery requests, “VBF requested that the

Founders provide certain information directly related to these allegations and claims

of wrongful conduct, including misappropriation, corporate waste, and squandering of

VBF’s assets to benefit themselves, their family members, and their affiliated entities”;


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that “the Responding Founders have objected to these requests as seeking ‘irrelevant’

information”; and that “[t]hese relevance objections are wholly without merit, and VBF

respectfully requests that this Court overrule the Responding Founders’ relevance

objections and compel the Responding Founders to produce responsive documents and

sufficient answers to the following requests for production and interrogatories:

       First Request for Production of Documents to Defendants Nos. 5, 6, 8, 9, 81

       First Set of Interrogatories to Leslie Wulf Nos. 1, 3, 4, 13, 16

       First Set of Interrogatories to Bruce Hall Nos. 1, 2, 3, 20

       First Set of Interrogatories to James Rea Nos. 1, 2, 3, 17, 18

       First Set of Interrogatories to Ted Rea Nos. 1, 2, 3, 4, 17, 22.”

Id. at 1-2.

       The Responding Founders respond that the MTC “is predominantly directed at

conducting a sweeping review and examination of the financial dealings of not only the

Founders, but also their ‘parents, spouses, children, siblings,’ business ventures and

partners” and that “[t]his broad and intrusive discovery into persons who are not party

to this litigation is neither warranted nor proportional in this case, and is another step

in VBF’s a campaign to harass and intimidate anyone associated with” the Responding

Founders. Dkt. No. 147 at 2 (footnote and emphasis omitted). According to the

Responding Founders, the responses to VBF’s discovery requests “at issue fall into

three categories:

       I. Requests for financial information, assets and bank accounts for Founders,

       their family members, affiliates, and business partners (RFP Nos. 5, 6, 8, 9;

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       Wulf Interrog. 1, 4, 13, 16; Hall Interrog 1, 2, 3, 20; J. Rea Interrog. 1, 2, 3; T.

       Rea Interrog. 1, 2, 3, 17 and 22);

       II. Requests for communications with persons who participated in the Ad Hoc

       Equityholders’ Committee’s objection to VBF’s Chapter 11 reorganization Plan

       (J. Rea Interrog. 17, 18; RFP 81); and

       III. Requests that have been answered either by document production or

       otherwise, but that VBF has attempted to broaden via letter (Wulf Interrog. 3,

       T. Rea Interrog. 4).”

Id. at 3.

       The Responding Founders assert that they “have addressed some of VBF’s

requests (Categories II and III) with supplemental interrogatory responses they served

on August 23, 2019, documents that they have or will produce, and with the production

of a privilege log” and “continue to believe that the remaining requests (Category I) are

irrelevant, overbroad, and an effort to harass and intimidate [the Responding]

Founders and their families and colleagues,” such that VBF’s request “to compel these

items must be denied.” Id. (footnote omitted).

       The Court has carefully considered the parties’ briefing and GRANTS in part

and DENIES in part the MTC to the extent and for the reasons explained below.

       The Court has laid out that standards that govern a Federal Rule of Civil

Procedure 37(a) motion to compel such as VBF’s as to Federal Rule of Civil Procedure

34 requests for production and Federal Rule of Civil Procedure 33 interrogatories, and

the Court incorporates and will apply – but will not repeat – those standards here. See

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Lopez v. Don Herring Ltd., 327 F.R.D. 567, 573-86 (N.D. Tex. 2018).

1. Financial information related to Responding Founders: RFP Nos. 5, 6, 8, 9

      REQUEST FOR PRODUCTION NO. 5: All Documents relating to Defendants’
      Affiliated Entities.
      RESPONSE: Defendants object to this Request because it seeks documents that
      are not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter. Defendants also object
      to this Request as unduly burdensome because it improperly seeks personal and
      confidential financial information relating to them, their families, and are other
      business ventures, none of whom are parties to this case and some of whom have
      been released.

      REQUEST FOR PRODUCTION NO. 6: All Documents relating to all bank
      accounts and accounts at other financial institutions to which you, Defendants’
      Affiliated Entities, or Defendants’ Family have been named an account holder,
      had rights to withdraw funds, and/or did withdraw funds.
      RESPONSE: Defendants object to this Request because it seeks documents that
      are not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter. Defendants also object
      to this Request as unduly burdensome because it improperly seeks personal and
      confidential financial information relating to them, their families, and other
      business entities, many of whom are not parties to this case and some of whom
      have been released.

      REQUEST FOR PRODUCTION NO. 8: All Documents relating to your federal
      and state income, including but not limited to, income tax returns.
      RESPONSE: Defendants object to this Request because it seeks documents that
      are not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter. Defendants also object
      to this Request as unduly burdensome because it improperly seeks personal and
      confidential financial information relating to them and their families, many of
      whom are not parties to this case, and some of whom have been released.

      REQUEST FOR PRODUCTION NO. 9: All Documents relating to title to
      property or real estate you own or receive income from.
      RESPONSE: Defendants object to this Request because it seeks documents that
      are not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter. Defendants also object
      to this Request as unduly burdensome because it improperly seeks personal and
      confidential financial information relating to them and their families, many of
      whom are not parties to this case, and some of whom have been released.

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      VBF explains that it “seek[s] to enforce [its] requests only as to financial

documents from July 2014 to the present, consistent with the Court’s recent ruling on

the relevant time frame for the bank subpoenas previously issued by VBF.”Dkt. No.

152 at 3 (footnote omitted; citing Dkt. No. 141 at 3).

      As the Court previously determined, see Dkt. No. 141, financial information from

the Responding Founders is “relevant to the claims in, and proportional to the needs

of, this case – even without reaching the issue of whether discovery related to possible

punitive damages is appropriate at this time.” Dkt. No. 141 at 3. The Responding

Founders’ largely boilerplate relevance objections do not demonstrate otherwise,

particularly as to RFP Nos. 8 and 9, which are reasonably particular. Further, the

Court is persuaded that bank and other financial institution account documents from

the Responding Founders and their related entities and family members are relevant

to VBF’s claims and proportional to the needs of the case, for essentially the reasons

that VBF has explained. And VBF has adequately demonstrated the relevance of the

information in Responding Founders’ federal and state income tax returns, and the

Responding Founders have not shown that “other sources exist from which the

information contained in the returns may be readily obtained.” Gondola v. USMD

PPM, LLC, 223 F. Supp. 3d 575, 587 (N.D. Tex. 2016) (internal quotation marks

omitted).

      But RFP No. 5 is not reasonably particular. Seeking “[a]ll Documents relating

to Defendants’ Affiliated Entities.” As the Court has noted, “[i]t is no answer for

attorneys’ serving ... all-encompassing or broad and undirected requests for production

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to say that they are not certain what the responding party has in its possession,

custody, or control and do not want to miss anything – and so will ask for, effectively,

everything.” Lopez, 327 F.R.D. at 577-78.

       Finally, concerns regarding confidentiality are, as VBF asserts, see Dkt. No. 152

at 5, adequately safeguarded by the agreed protective order issued in this case, see Dkt.

112.

       The Court grants in part and denies in part the MTC as to RFP Nos. 6, 8, and

9 – limited to responsive documents from July 2014 to the present – and ORDERS the

Responding Founders to, by October 2, 2019, serve on Defendants’ counsel complete

responses – and produce all unproduced documents responsive to – RFP Nos. 6, 8, and

9. But the Court denies the MTC as to RFP No. 5 and issues a protective order as to

any further response to RFP No. 5 as presently worded.

2. Documents relating to the Nelson Family or Randy Chalfant: RFP No. 81

       REQUEST FOR PRODUCTION NO. 81: All Documents relating to the Nelson
       Family (Grace Nelson, Mark Nelson, Jeff Nelson, Korrine Nelson, and/or Jerita
       Nelson) or Randy Chalfant, on the one hand, and Defendants and/or Defendants’
       counsel on the other hand.
       RESPONSE: Defendants object to this Request to the extent it seeks
       communications subject to attorney-client privilege, work product protection,
       and/or common interest privilege. Defendants also object to this Request
       because it seeks documents that are not relevant or reasonably calculated to
       lead to the discovery of evidence relevant to the claims or defenses raised in this
       matter.

       As the Court explained before, the Responding Founders must comply with

Federal Rule of Civil Procedure 26(b)(5) and serve a privilege log in support of any

claim for withholding responsive documents based on attorney-client privilege, work


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product protection, or common interest privilege.

      As to relevance, the Court is persuaded that any responsive documents that the

Responding Founders have in their possession, custody, or control relating

communications or interactions with the Nelsons prior to their termination from VBF

or with Randy Chalfant relevant to the claims in, and proportional to the needs of, this

case and must be produced. But, other than communications regarding the bankruptcy

proceeding, as to which the Court issues a protective order consistent with the Court’s

prior ruling, see Dkt. No. 141, the Court is persuaded by VBF’s explanation that,

“[u]nlike the non-bank subpoenas that the Court previously quashed, the discovery

sought regarding the Responding Founders’ communications with the Nelsons and

Chalfant are not related to the bankruptcy proceeding, but are directly related to VBF’s

fraud allegations in the lawsuit” and “[t]hat they were involved in the VBF bankruptcy

does not automatically render these requests irrelevant or disproportionate.” Dkt. No.

152 at 7 n.8. And the Court determines that VBF has shown that, other than

communications between the Responding Founders and the Nelsons regarding the

bankruptcy proceeding, the documents sought by RFP No. 81 are relevant to the claims

in, and proportional to the needs of, this case.

      To the extent just explained, the Court grants in part and denies in part the

MTC as to RFP No. 81 and ORDERS the Responding Founders to, by October 2, 2019,

serve on Defendants’ counsel amended responses – and produce all unproduced

documents responsive to – RFP No. 81, as limited above.



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3. Objections to financial interrogatories (Nos. 1, 4, 13, 16) to Wulf

      INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities,
      including the identity of all shareholders, owners, managers, and/or directors.
      ANSWER: Wulf objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. Wulf further
      objects to this Interrogatory because it seeks information that it not relevant or
      reasonably calculated to lead to the discovery of evidence relevant to the claims
      or defenses raised in this matter.

      INTERROGATORY NO. 4: Identify all real estate owned by you, any member
      of Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or
      indirectly (i.e. through a trust or other entity) by address, purchase price, listed
      sales price, and identity of lenders.
      ANSWER: Wulf objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. Wulf also objects
      to this Interrogatory as improperly seeking personal and confidential financial
      information relating to him and his family, many of whom are not parties to this
      case. Wulf further objects to this Interrogatory because it seeks information that
      it not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 13: Identify all professionals, including, but not limited
      to, attorneys, accountants, insurance brokers, website developers, website hosts,
      media consultants, stockbrokers, financial planners and/or consultants, who
      have performed any services for any Defendant, any of Defendants’ Affiliated
      Entities, and/or any member of Defendants’ Family.
      ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
      confidential financial information relating to him and his family, many of whom
      are not parties to this case. Wulf further objects to this Interrogatory as seeking
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.
      SUPPLEMENTAL ANSWER: Subject to these objections and pursuant to the
      parties' agreement, Wulf states that the following professional, Tracy Arbanas,
      provided services to him while she was employed as a 1099 contractor to VBF.
      Tracy provided approximately 2-3 hours a week of services during the
      demolition of existing fire damaged structure and design and cost bidding of the
      construction process of the new structure over a 3-S-month period.

      INTERROGATORY NO. 16: Identify any and all entities (including trusts) in
      which any of the Defendants, any of the Defendants’ Affiliated Entities, and/or
      any member of Defendants’ Family has owned a beneficial or equitable interest
      or has or is serving as a trustee or beneficiary, or by which any Defendant has

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      been employed or compensated as a 1099 independent contractor.
      ANSWER: Wulf objects to this Interrogatory as improperly seeking personal and
      confidential financial information relating to him and his family, many of whom
      are not parties to this case. Wulf further objects to this Interrogatory as seeking
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.

      For the reasons explained above, the Court determines that the information that

VBF seeks through these four interrogatories are relevant to the claims in, and

proportional to the needs of, this case and any concerns regarding confidentiality are,

as VBF asserts, see Dkt. No. 135 at 9-10, adequately safeguarded by the agreed

protective order issued in this case, see Dkt. 112. The Court grants the MTC as to

Interrogatory Nos. 1, 4, 13, and 16 to Wulf, as to which Wulf must, by October 2,

2019, serve a complete answer consistent with Rule 33’s governing standards. See

Lopez, 327 F.R.D. at 578-80.

4. Objections regarding compensation: Wulf Interrogatory No. 3

      INTERROGATORY NO. 3: Identify all amounts (by date, amount, and reason
      for payment) that Defendants or Defendants’ Family received directly or
      indirectly from VBF through compensation, stock (including the value of stock
      at the time of issuance), any kind of payment, reimbursement of expenses or
      otherwise and explain the basis of said amounts.
      ANSWER: Wulf objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. Wulf also objects
      to this Interrogatory as improperly seeking personal and confidential financial
      information relating to him and his family, many of whom are not parties to this
      case. Wulf further objects to this Interrogatory to the extent it seeks information
      and records in Plaintiff’s exclusive possession that Wulf does not have
      possession or control over in order to further respond. Subject to these
      objections, Wulf was paid $25,000.00 per month by VBF from October 2014
      through July 2016 as a consulting fee, pursuant to the Management Services
      Agreement executed with VBF, LAW Holdings and VeroBlue Farms, Inc.
      (Canada) (VBF’s parent company) on October 1, 2014. Wulf was paid $33,333
      per month in salary by VBF July 2016 through December 2017, pursuant to his
      Employment Agreement dated July 1, 2016. Wulf received 3,600,000 shares of

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      stock in VeroBlue Farms, Inc. (Canada) at a price of $.000001 in October 2014
      and he was granted options to purchase 1,000 shares of common stock in VBF
      at a purchase price of $1.00 per share pursuant to a Stock Option Agreement
      between him and VBF dated July 8, 2016. Documents further responsive to this
      Interrogatory will be produced and may be within Plaintiff’s exclusive
      possession and control.

      For the reasons explained above, the Court determines that the information that

VBF seeks through this interrogatory is relevant to the claims in, and proportional to

the needs of, this case and any concerns regarding confidentiality are, as VBF asserts,

see Dkt. No. 135 at 10, adequately safeguarded by the agreed protective order issued

in this case, see Dkt. 112. The Court grants the MTC as to Interrogatory No. 3 to Wulf,

as to which Wulf must, by October 2, 2019, serve a complete answer consistent with

Rule 33’s governing standards. See Lopez, 327 F.R.D. at 578-80. Wulf must endeavor

to answer the interrogatory under those standards and cannot assert only that “he is

unlikely to have knowledge with respect to payments to other Founders or their

families.” Dkt. No. 147 at 10.

5. Hall’s responses to Interrogatory Nos. 1, 2, 3, 20

      INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities,
      including the identity of all shareholders, owners, managers, and/or directors.
      ANSWER: Hall objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. Hall further
      objects to this Interrogatory because it seeks information that it not relevant or
      reasonably calculated to lead to the discovery of evidence relevant to the claims
      or defenses raised in this matter.

      INTERROGATORY NO. 2: Identify all banks or other financial institutions to
      which you, Defendants’ Affiliated Entities, or Defendants’ Family have been
      named an account holder, had rights to withdraw funds, and/or did withdraw
      funds, including the account numbers, name of account holder(s), dates account
      has been held, and type of account.
      ANSWER: Hall objects to this Interrogatory to the extent it seeks information

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      about other defendants of which he has no personal knowledge. Hall also objects
      to this Interrogatory as improperly seeking personal and confidential financial
      information relating to him and his family, many of whom are not parties to this
      case. Hall further objects to this Interrogatory because it seeks information that
      it not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 3: Identify all real estate owned by you, any member
      of Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or
      indirectly (i.e. through a trust or other entity) by address, purchase price, listed
      sales price, and identity of lenders.
      ANSWER: Hall objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. Hall also objects
      to this Interrogatory as improperly seeking personal and confidential financial
      information relating to him and his family, many of whom are not parties to this
      case. Hall further objects to this Interrogatory because it seeks information that
      it not relevant or reasonably calculated to lead to the discovery of evidence
      relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 20: Identify any and all entities (including trusts) in
      which any of the Defendants, any of the Defendants’ Affiliated Entities, and/or
      any member of Defendants’ Family has owned an beneficial or equitable interest
      or has or is serving as a trustee or beneficiary, or with which any Defendant has
      been employed or compensated as a 1099 independent contractor.
      ANSWER: Hall objects to this Interrogatory as improperly seeking personal and
      confidential financial information relating to him and his family, many of whom
      are not parties to this case. Hall further objects to this Interrogatory as seeking
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.

      For the reasons explained above, the Court determines that the information that

VBF seeks through these four interrogatories are relevant to the claims in, and

proportional to the needs of, this case and any concerns regarding confidentiality are,

as VBF asserts, see Dkt. No. 135 at 11, adequately safeguarded by the agreed

protective order issued in this case, see Dkt. 112. The Court grants the MTC as to

Interrogatory Nos. 1, 2, 3, and 20 to Hall, as to which Hall must, by October 2, 2019,

serve a complete answer consistent with Rule 33’s governing standards. See Lopez, 327

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F.R.D. at 578-80.

6. James Rea’s responses to Interrogatory Nos. 1, 2, 3, 17, 18

      INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities,
      including the identity of all shareholders, owners, managers, and/or directors.
      ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. J. Rea further
      objects to this Interrogatory because it seeks information that it not relevant or
      reasonably calculated to lead to the discovery of evidence relevant to the claims
      or defenses raised in this matter.

      INTERROGATORY NO. 2: Identify all banks or other financial institutions to
      which you, Defendants’ Affiliated Entities, or Defendants’ Family have been
      named an account holder, had rights to withdraw funds, and/or did withdraw
      funds, including the account numbers, name of account holder(s), dates account
      has been held, and type of account.
      ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. J. Rea also
      objects to this Interrogatory as improperly seeking personal and confidential
      financial information relating to him and his family, many of whom are not
      parties to this case. J. Rea further objects to this Interrogatory because it seeks
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 3: Identify all real estate owned by you, any member
      of Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or
      indirectly (i.e. through a trust or other entity) by address, purchase price, listed
      sales price, and identity of lenders.
      ANSWER: J. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. J. Rea also
      objects to this Interrogatory as improperly seeking personal and confidential
      financial information relating to him and his family, many of whom are not
      parties to this case. J. Rea further objects to this Interrogatory because it seeks
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 17: Identify all Communications between any member
      of the Nelson Family (Grace Nelson, Mark Nelson, Jeff Nelson, Korrine Nelson,
      and/or Jerita Nelson) or Randy Chalfant, on the one hand, and Defendants or
      Defendants’ counsel on the other hand.
      ANSWER: J. Rea objects to this Interrogatory to the extent it seeks
      communications subject to attorney-client privilege, work product protection,

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      and/or common interest privilege. J. Rea also object to this Interrogatory
      because it seeks information that is not relevant or reasonably calculated to lead
      to the discovery of evidence relevant to the claims or defenses raised in this
      matter.

      INTERROGATORY NO. 18: Identify all Communications between Defendants
      or Defendants’ counsel on the one hand, and Kenneth Lockard, Beecher, Field,
      Walker, Morris, Hoffman & Johnson, P.C., FishDish LLC, Goldstein &
      McClintock LLP, or Horwood Marcus & Berk Chartered, on the other hand.
      ANSWER: J. Rea objects to this Interrogatory to the extent it seeks
      communications subject to attorney-client privilege, work product protection,
      and/or common interest privilege. J. Rea also object to this Interrogatory
      because it seeks information that is not relevant or reasonably calculated to lead
      to the discovery of evidence relevant to the claims or defenses raised in this
      matter.

      VBF has withdrawn Interrogatory No. 18 to James Rea, and so the Court denies

the MTC as moot as to that interrogatory. See Dkt. No. 152 at 7 n.8.

      As to Interrogatory No. 17, the Court grants in part and denies in part the MTC

for the reasons explained above and orders that James Rea must, by October 2, 2019,

serve a complete answer consistent with Rule 33’s governing standards, see Lopez, 327

F.R.D. at 578-80, with the exception of communications regarding the bankruptcy

proceeding, as to which the Court grants a protective order as to Interrogatory No. 17.

And, further, James Rea must comply with Federal Rule of Civil Procedure 26(b)(5)

and serve a privilege log in support of any claim for withholding responsive information

based on attorney-client privilege, work product protection, or common interest

privilege.

      As to Interrogatory Nos. 1, 2, and, 3, for the reasons explained above, the Court

determines that the information that VBF seeks through these four interrogatories

are relevant to the claims in, and proportional to the needs of, this case and any

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concerns regarding confidentiality are, as VBF asserts, see Dkt. No. 135 at 12,

adequately safeguarded by the agreed protective order issued in this case, see Dkt. 112.

The Court grants the MTC as to Interrogatory Nos. 1, 2, and 3 to James Rea, as to

which Hall must, by October 2, 2019, serve a complete answer consistent with Rule

33’s governing standards. See Lopez, 327 F.R.D. at 578-80.

7. Objections to financial interrogatories (Nos. 1, 2, 3, 17, 22) to Ted Rea

      INTERROGATORY NO. 1: Identify all of Defendants’ Affiliated Entities,
      including the identity of all shareholders, owners, managers, and/or directors.
      ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. T. Rea further
      objects to this Interrogatory because it seeks information that it not relevant or
      reasonably calculated to lead to the discovery of evidence relevant to the claims
      or defenses raised in this matter.

      INTERROGATORY NO. 2: Identify all banks or other financial institutions to
      which you, Defendants’ Affiliated Entities, or Defendants’ Family have been
      named an account holder, had rights to withdraw funds, and/or did withdraw
      funds, including the account numbers, name of account holder(s), dates account
      has been held, and type of account.
      ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. T. Rea also
      objects to this Interrogatory as improperly seeking personal and confidential
      financial information relating to him and his family, many of whom are not
      parties to this case. T. Rea further objects to this Interrogatory because it seeks
      information that it not relevant or reasonably calculated to lead to the discovery
      of evidence relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 3: Identify all real estate owned by you, any member
      of Defendants’ Family, and/or any of Defendants’ Affiliated Entities, directly or
      indirectly (i.e. through a trust or other entity) by address, purchase price, listed
      sales price, and identity of lenders.
      ANSWER: T. Rea objects to this Interrogatory to the extent it seeks information
      about other defendants of which he has no personal knowledge. T. Rea also
      objects to this Interrogatory as improperly seeking personal and confidential
      financial information relating to him and his family, many of whom are not
      parties to this case. T. Rea further objects to this Interrogatory because it seeks
      information that is not relevant or reasonably calculated to lead to the discovery

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      of evidence relevant to the claims or defenses raised in this matter.

      INTERROGATORY NO. 17: Identify all professionals, including, but not limited
      to, attorneys, accountants, insurance brokers, website developers, website hosts,
      media consultants, stockbrokers, financial planners, fish biologists, universities,
      independent aquaculture specialists and/or consultants, who have performed
      any services for VBF.
      ANSWER: T. Rea objects to this Interrogatory to the extent it asks him to attest
      to the collective decisions of VBF. T. rea further objects to this Interrogatory to
      the extent it seeks information and records in Plaintiff’s exclusive possession
      that he does not have possession or control over or access to. Subject to these
      objections, T. Rea cannot recall every service provider who may have performed
      services for VBF during his tenure. Documents further responsive to this
      Interrogatory may be within Plaintiff’s exclusive possession and control.

      INTERROGATORY NO. 22: Identify the names of any trusts to which any
      Defendant, any of the Defendants’ Affiliated Entities, or any member of
      Defendants’ Family is a trustee or beneficiary.
      ANSWER: T. Rea objects to this Interrogatory as improperly seeking personal
      and confidential financial information relating to him and his family, many of
      whom are not parties to this case. T. Rea further objects to this Interrogatory as
      seeking information that it not relevant or reasonably calculated to lead to the
      discovery of evidence relevant to the claims or defenses raised in this matter.

      For the reasons explained above, the Court determines that the information that

VBF seeks through these five interrogatories are relevant to the claims in, and

proportional to the needs of, this case and any concerns regarding confidentiality are,

as VBF asserts, see Dkt. No. 135 at 13, adequately safeguarded by the agreed

protective order issued in this case, see Dkt. 112. The Court grants the MTC as to

Interrogatory Nos. 1, 2, 3, 17, and 22 to Ted Rea, as to which Ted Rea must, by

October 2, 2019, serve a complete answer consistent with Rule 33’s governing

standards. See Lopez, 327 F.R.D. at 578-80.

8. Objections regarding compensation: Ted Rea Interrogatory No. 4

      INTERROGATORY NO. 4: Identify all to payments received by you from any

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         Sheriff Entities.
         ANSWER: T. Rea further objects to this Interrogatory because it seeks
         information that it not relevant or reasonably calculated to lead to the discovery
         of evidence relevant to the claims or defenses raised in this matter. Subject to
         that objection, T. Rea has not received any payments from the Sheriff Entities.
         Sheriff did loan funds to Bajjer to pay off a loan on behalf of SSi to Green Bank
         in November 2016. Bajjer carries a note receivable from SSi for this loan payoff
         and Bajjer owes Sheriff for this payoff, but T. Rea did not receive any of these
         funds.

         Ted Rea directly answered this interrogatory consistent with Rule 33’s governing

standards. See Lopez, 327 F.R.D. at 578-80. The Court denies the MTC as to

Interrogatory No. 4 to Ted Rea. If VBF believes that it requires additional information,

it may seek it through new discovery requests, deposition testimony, or any other

formal or informal means of discovery at its disposal, consistent with the governing

rules.

         Finally, under Federal Rule of Civil Procedure 37(a)(5), the Court determines

that, under all of the circumstances presented here, the parties will bear their own

expenses, including attorneys’ fees, in connection with the MTC.

         SO ORDERED.

         DATED: September 10, 2019

                                           _________________________________________
                                           DAVID L. HORAN
                                           UNITED STATES MAGISTRATE JUDGE




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